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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


JJ DESIGN HOUSE LLC,                                             Civil Action No.

                             Plaintiffs,                            25-cv-275
v.
                                                                 (Judge Ranjan)

YIQIYUO et al.,

                             Defendants.




                          NOTICE OF VOLUNTARY DISMISSAL



       PURSUANT TO Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiffs,

through their undersigned attorneys, hereby give notice of the voluntary dismissal without

prejudice of all claims against Defendants JUANJUAN STORE, HUEFOAM WALL ART,

SITICOTO, HAPPY WALL ART, HIWX, SYMPHONY OF DÉCOR, YEOOW, DALABA

ART, SENSORY ART, RULING, SHENGLONG INC, WUWENFAN01,

SUZHOUCAIZONGRENMAOYIYOUXIANGONGSI, LIUGUOZHONG,

ZONGXIANMAOYI with each party to bear its own attorneys’ fees, costs, and expenses. The

dismissed Defendants have neither answered Plaintiffs’ Complaint nor filed a responsive

pleading. Accordingly, these Defendants may be voluntarily dismissed and without a court order

under Rule 41(a)(1)(A)(i).


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                                    Respectfully submitted,



Dated: April 1, 2025                /s/ Stanley D. Ference III
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